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                                                                                            CLOSED
                       U.S. District Court
            Western District of Kentucky (Owensboro)
 CRIMINAL DOCKET FOR CASE #: 4:22−mj−00068−HBB All Defendants

Case title: USA v. Sailors                                   Date Filed: 11/04/2022

                                                             Date Terminated: 11/07/2022

Assigned to: Magistrate Judge H. Brent
Brennenstuhl

Defendant (1)
Douglas Sailors
TERMINATED: 11/07/2022

Pending Counts                             Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                          Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                 Disposition
RULE 5 from Southern District of Florida



Plaintiff
USA                                            represented by Mark J. Yurchisin , II
                                                              U.S. Attorney Office − Bowling Green
                                                              241 East Main Street, Suite 305
                                                              Bowling Green, KY 42101
                                                              270−999−7009
                                                              Email: mark.yurchisin@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Retained



                                                                                                     1
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                 Select                                                                       Docket
Date Filed   #   all / clear                                                                  Text
11/04/2022       Arrest (Rule 5) of Douglas Sailors (DJT) (Entered: 11/07/2022)
11/04/2022   1   Rule 5 Documents Received from Southern District of Florida, Case Number
                 22−60210−CR−SINGHAL/DAMIAN as to Douglas Sailors (DJT) (Entered:
                 11/07/2022)
11/04/2022   2   Case Assignment (Random Selection): Case Assigned to Magistrate Judge H.
                 Brent Brennenstuhl. (DJT) (Entered: 11/07/2022)
11/04/2022       Proceedings held before Magistrate Judge H. Brent Brennenstuhl; Initial
                 Appearance in Rule 5(c)(3) Proceedings as to Douglas Sailors held on
                 11/4/2022 (Court Reporter Digitally Recorded.) (DJT) (Entered: 11/07/2022)
11/04/2022   3   ORDER by Magistrate Judge H. Brent Brennenstuhl on 11/4/22 as to Douglas
                 Sailors : IT IS ORDERED the Defendant shall be released on a $250,000.00
                 secured property bond pending the trial of this action. IT IS FURTHER
                 ORDERED the Southern District of Florida will schedule Defendant to appear
                 for arraignment. cc: AUSA, USP, USM, USDC − SD/FL (DJT) (Entered:
                 11/07/2022)
11/04/2022   4   APPEARANCE BOND AND ORDER SETTING CONDITIONS OF
                 RELEASE: Property Bond Entered as to Douglas Sailors in amount of $
                 250,000. (Attachments: # 1 Exhibit Deed, # 2 Exhibit Quitclaim Deed) (DJT)
                 (Entered: 11/07/2022)
                 Main Document
                 Attachment # 1 Exhibit Deed
                 Attachment # 2 Exhibit Quitclaim Deed
11/04/2022   5   WAIVER OF RIGHT TO HAVE APPOINTED COUNSEL by Douglas
                 Sailors. (DJT) (Entered: 11/07/2022)
11/04/2022   6   WAIVER OF RULE 32.1 HEARING by Douglas Sailors (DJT) (Entered:
                 11/07/2022)




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF KENTUCKY
                        OWENSBORO DIVISION
_______________________________________________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
                 PLAINTIFF          ) Criminal Action No. 4:22mj-00068-HBB
v.                                            )   H. BRENT BRENNENSTUHL,
                                    ) Magistrate Judge
DOUGLAS SAILORS                     )
                                    )
                 DEFENDANT          )
                                    )
______________________________________________________________________

                                          ORDER

       On the 4TH day of November 2022, this action came before the undersigned upon
Defendant’s initial appearance after execution of an arrest warrant issued by the Southern
District of Florida, Case Number: 22-60210-CR-Singhal/Damian. There appeared the
Defendant, Douglas Sailors, in custody of the Federal Bureau of Investigations, via
video/audio conference in Owensboro. Assistant United States Attorney Mark J.
Yurchisin, II, was present, in person, for the United States of America. The proceedings
were digitally recorded. The Defendant was advised of his right to appear in person
before the Magistrate Judge and the Defendant gave oral Consent to Proceed by Video
Teleconference.
       The Defendant acknowledged receipt of the Indictment and acknowledged an
understanding of the charges contained therein. The Defendant was advised of his
Constitutional rights including his right to be represented by counsel. The Defendant
advised the Court he is attempting to retain counsel in this matter and therefore waives
his right to Court-appointed counsel. The Defendant executed a waiver to that effect.
       The Defendant was advised of his rights with respect to Rule 5 proceedings as
well as his right to request transfer of the proceedings to this District pursuant to Rule 20
of the Federal Rules of Criminal Procedure to plead guilty as to the charges.




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         Counsel for the United States advised the Court the United States is not seeking
detention in this action but is requesting Defendant be released on a $250,000.00 secured
property bond.
          The Court having reviewed the charges and having heard the recommendation of
the United States and being otherwise sufficiently advised,
         IT IS ORDERED the Defendant shall be released on a $250,000.00 secured
property bond pending the trial of this action.
         IT IS FURTHER ORDERED the Southern District of Florida will schedule
Defendant to appear for arraignment.
         ENTERED this    November 4, 2022




Copies to:     AUSA Mark J. Yurchisin, II
               United States Probation
               United States Marshal Service
               US District Court, Southern District of Florida at Miami

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                                                                                     · Vn_ T, JR.
                                                                                                    . - CLERK
                  IN THE UNITED STATES DISTRICT COURT      Nov                         -4 2022
                 FOR THE WESTERN DISTRICT OF KENTUCKYU.S. DIST,
                          OWENSBORO DIVISION         WEST'N.                        o,:{cr COURT
_______________________•Ki_£_NrucKY
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                     PLAINTIFF                )   Criminal Action No. 4:22mj-68-JHM
v.                                            )   SENIOR JUDGE JOSEPH H. MCKINLEY, JR.
                                             )
DOUGLAS SAILORS                              )
                                             )
                     DEFENDANT               )
                                             )



             WAIVER OF RIGHT TO HAVE APPOINTED COUNSEL


       The undersigned acknowledges that he has been informed by the Court of the

charges against him and the nature of the proceedings before the Court, of his right to be

represented by counsel throughout the case, and of his right to have counsel appointed to

represent him if he is financially unable to obtain counsel, all of which he understands.

The undersigned now states to the Court that he does not desire to have counsel appointed

to represent him and waives such appointment.


       Dated this 4th day ofNovember 2 ~ . t : : i ? ·       W
 J1ft~aPrvY
WITNESS




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AO 466 (Rev. 12/17) Waiver of Rule 32.1 Hearing (Violation of Probation or Supervised Release)


                                       UNITED STATEs DISTRICT couRT JAIVlts J. v,Lr, JR. -CL£
                                                   ~~                     ~v 4                ~
                                                            W estem District of Kentucky                                              -    2022
                  United States of America                                    )
                                                                              )        Case No.
                                                                                                                   w#sM1ir::c;tNTUCl(y
                                                                                                     4:22MJ-00068-HBB
                                                                                                                               COURT
                                                                                                                                      ·
                                 V.
                                                                              )
                    DOUGLAS SAILORS                                           )
                                                                              )        Charging District's Case No.            22-60210-cr-Singhal/Damian
                             Defendant                                        )

                                                  W AIYER OF RULE 32.1 HEARING
                                              (Violation of Probation or Supervised Release)

       I understand that I have been charged with violating the conditions of probation or supervised release in a case
pending in another district, the (name of other court}    Southern District of Florida

           I have been informed of the charges and ofmy rights to:
          (1)        retain counsel or request the assignment of counsel if I am unable to retain counsel;
          (2)        an identity hearing to determine whether I am the person named in the charges;
          (3)        production of certified copies of the judgment, warrant, and warrant application, or reliable electronic
                     copies of them if the violation is alleged to have occurred in another district;
          (4)        a P.reliminary hearing to determine whether there is probable cause to believe a violation occurred ifl
                     will be held in custody, and my right to have this hearing in this district if the violationis alleged to
                     have occurred in this district; and
          (5)        a hearing on the government's motion for my detention in which I have the burden to establish my
                     eligibility for release from custody.

          I agree to waive my right(s) to:
          ~         an identity hearing and production of the judgment, warrant, and warrant application.
          0         a preliminary hearing.
          0         a detention hearing.
          0         an identity hearing, production of the judgment, warrant, and warrant application, and any preliminary
                    or detention hearing to which I may be entitled in this district. I request that my
                    0 preliminary hearing and/or O detention hearing be held in the prosecuting district, at a time set by
                    that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:   N<S V        'f


                                                                                           Signature of defendant's attorney



                                                                                         Printed name of defendant 's attorney




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